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 8                          UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
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11   DR. APARNA VASHISHT-ROTA,                           Case No.: 3:22-cv-00978-RBM-KSC
12                                      Plaintiff,
                                                         ORDER DENYING PLAINTIFF’S
13   v.                                                  APPLICATION FOR PERMISSION
                                                         FOR ELECTRONIC FILING
14   UTAH ATTORNEY GENERAL, et al.
                                                         WITHOUT PREJUDICE
15                                  Defendants.
                                                         [Doc. 4]
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18         Presently before the Court is Plaintiff Dr. Aparna Vashisht-Rota’s Application for
19   Permission for Electronic Filing. (Doc. 4.) Generally, “[e]xcept as prescribed by local
20   rule, order, or other procedure, the Court has designated all cases to be assigned to the
21   Electronic Filing System.” S.D. Cal. CivLR 5.4(a). With respect to pro se litigants,
22   however, “[u]nless otherwise authorized by the court, all documents submitted for filing to
23   the Clerk’s Office . . . must be in legible, paper form.” See Electronic Case Filing Admin.
24   Policies and Procedures Manual, § 2(b) (S.D. Cal. Aug. 15, 2022) (“ECF Manual”). “A
25   pro se party seeking leave to electronically file documents must file a motion and
26   demonstrate the means to do so properly by stating their equipment and software
27   capabilities in addition to agreeing to follow all rules and policies in the CM/ECF
28   Administrative Policies and Procedures Manual.” Id. The manual refers to the Court’s
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 1   official website for CM/ECF technical specifications, id. at § 1(i), which include a
 2   “[c]omputer running Windows or Macintosh”; “[s]oftware to convert documents from a
 3   word processor format to portable document format (PDF),” such as “Adobe Acrobat 7.0
 4   and higher”; “[i]nternet access supporting a transfer rate of 56kb or higher”; a compatible
 5   browser, such as “Firefox 15, Internet Explorer 9, and Safari 5.1/6 or later version”; a
 6   “[s]canner to image non-computerized documents 400 pixels per inch (ppi)”; and a PACER
 7   account.      See   U.S.   District   Court,       S.D.   Cal.,   CM/ECF:   General    Info,
 8   https://www.casd.uscourts.gov/cmecf.aspx#undefined1 (last visited Aug. 29, 2022).
 9         Here, Plaintiff has filed an Application for Permission for Electronic Filing on a
10   form approved by the United States District Court for the Central District of California,
11   which references Central District local rules and policies. The Court finds that Plaintiff
12   has sufficiently demonstrated that she has the means necessary to properly electronically
13   file documents. However, Plaintiff has not agreed to “follow all rules and policies in the
14   CM/ECF Administrative Policies and Procedures Manual,” which is required in this
15   District. See ECF Manual, § 2(b).
16         IT IS HEREBY ORDERED that Plaintiff’s Application for Permission for
17   Electronic Filing (Doc. 4) is denied without prejudice. Plaintiff may file an amended
18   motion that includes a declaration affirming that Plaintiff agrees to follow the rules and
19   policies in the CM/ECF Administrative Policies and Procedures Manual.
20         IT IS SO ORDERED.
21   DATE: August 29, 2022
22                                               _____________________________________
                                                 HON. RUTH BERMUDEZ MONTENEGRO
23
                                                 UNITED STATES DISTRICT JUDGE
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